DOCUMENTS UNDER SEAL
                     Case 3:21-cr-00334-WHA Document 12 Filed 08/31/21 Page 14of
                                                          TOTAL TIME (m ins): M
                                                                                 1
M AGISTRATE JUDGE                             DEPUTY CLERK                              REPORTER/DIGITAL RECORDING:
M INUTE ORDER                               Karen L. Hom                               Zoom Webinar: 10:34-10:38
MAGISTRATE JUDGE                              DATE                                      NEW CASE          CASE NUMBER
JOSEPH C. SPERO                             August 31, 2021                                              21-cr-0334-SI-1
                                                        APPEARANCES
DEFENDANT                                     AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.      RET.
Arnardo Doney Martinez                                Y        P       Ruben Munoz                              APPT.
U.S. ATTORNEY                                 INTERPRETER                            FIN. AFFT                COUNSEL APPT'D
Sailaja Paidipaty                           Melinda Basker - Spanish                 SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR               PARTIAL PAYMENT
                              Pepper Friesen                            APPT'D COUNSEL                 OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
        INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                               STATUS
                                                                                                                   TRIAL SET
        I.D. COUNSEL                ARRAIGNMENT               BOND HEARING             IA REV PROB. or             OTHER
                                 Held - 4 M                                            or S/R
        DETENTION HRG               ID / REMOV HRG            CHANGE PLEA              PROB. REVOC.                ATTY APPT
                                                                                                                   HEARING
                                                       INITIAL APPEARANCE
         ADVISED                  ADVISED                     NAME AS CHARGED             TRUE NAME:
         OF RIGHTS                OF CHARGES                  IS TRUE NAME
                                                          ARRAIGNM ENT
        ARRAIGNED ON                ARRAIGNED ON                READING W AIVED               W AIVER OF INDICTMENT FILED
        INFORMATION                 INDICTMENT                  SUBSTANCE
Felony
                                                           RELEASE
       RELEASED           ISSUED                       AMT OF SECURITY         SPECIAL NOTES                  PASSPORT
       ON O/R             APPEARANCE BOND              $                                                      SURRENDERED
                                                                                                              DATE:
 PROPERTY TO BE POSTED                            CORPORATE SECURITY                        REAL PROPERTY:
     CASH    $


       MOTION           PRETRIAL                 DETAINED          RELEASED         DETENTION HEARING               REMANDED
       FOR              SERVICES                                                    AND FORMAL FINDINGS             TO CUSTODY
       DETENTION        REPORT                                                      W AIVED
 ORDER REMOVED TO THE DISTRICT OF
                                                               PLEA
    CONSENT                       NOT GUILTY                  GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                   CHANGE OF PLEA              PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                            FILED
                                                          CONTINUANCE
 TO:                               ATTY APPT                 BOND                     STATUS RE:
09/14/2021                         HEARING                   HEARING                  CONSENT                    TRIAL SET

 AT:                               SUBMIT FINAN.               PRELIMINARY            CHANGE OF                STATUS
                                   AFFIDAVIT                   HEARING                PLEA
1:00 PM                                                        _____________
BEFORE HON.                        DETENTION                   ARRAIGNMENT             MOTIONS                   JUDGMENT &
                                   HEARING                                                                       SENTENCING
Judge Illston
         TIME W AIVED              TIME EXCLUDABLE             IDENTITY /             PRETRIAL                   PROB/SUP REV.
                                   UNDER 18 § USC              REMOVAL                CONFERENCE                 HEARING
                                   3161 8/31/2021-9/14/2021    HEARING
                                                    ADDITIONAL PROCEEDINGS
Defendant consents to proceed by Zoom. Dft and Mr. Munoz authorized the Court to sign the Waiver of Indictment on their
behalf. Gov't intends to file a Notice of Related case before WHA. If this case is related, the parties will contact Judge Alsup's
clerk to schedule the next appearance date.
cc: EC, AD                                                                                  DOCUMENT NUMBER:
